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Simon, Jeremy (USADC)

To:                          Escher, Sam (USADC)
Subject:                     RE: [EXTERNAL] Upcoming JSR for NPCJI v. DHS, No. 18-cv-02932 (DDC)




From: Adam Marshall <amarshall@rcfp.org>
Sent: Thursday, July 21, 2022 11:21 AM
To: Simon, Jeremy (USADC) <JSimon@usa.doj.gov>
Cc: Katie Townsend <ktownsend@rcfp.org>; Charles Tobin <tobinc@ballardspahr.com>
Subject: Re: [EXTERNAL] Upcoming JSR for NPCJI v. DHS, No. 18‐cv‐02932 (DDC)

Hi Jeremy,

As you know, Defendants bear the burden under FOIA to demonstrate compliance with the law. Because Defendants
have not yet filed their Vaughn index or supporting declarations, among other things, Plaintiffs are not in a position to
identify or narrow what is in dispute at this time. Plaintiffs reserve the right to challenge any and all issues raised in this
matter, including but not limited to Defendants' redactions and withholdings and the scope of Defendants' searches.

To the extent Defendants want to provide Plaintiff with their Vaughn index(es) and declaration(s) in advance of
Defendants' summary judgment deadline, we will be happy to review them and determine if there are issues on which
the parties can meet and confer.

Our edits to the JSR are attached in redline; the date modifications take into account some anticipated travel on my
part, including following my wedding this fall. I've also noted that ICE made its production today. Please let us know if
you have additional edits; once we have it finalized I'm happy to take care of the filing.

Thanks,
Adam


Adam A. Marshall // Senior Staff Attorney
Reporters Committee for Freedom of the Press
amarshall@rcfp.org // (202) 795-9308 (w) // @a_marshall_plan
Encrypted communications available




On Wed, Jul 20, 2022 at 1:35 PM Adam Marshall <amarshall@rcfp.org> wrote:
 Jeremy, we're in receipt of the draft JSR and will be in touch soon.

 Thanks,
 Adam

 Adam A. Marshall // Senior Staff Attorney
 Reporters Committee for Freedom of the Press
 amarshall@rcfp.org // (202) 795-9308 (w) // @a_marshall_plan
 Encrypted communications available




 On Wed, Jul 20, 2022 at 12:09 PM Simon, Jeremy (USADC) <Jeremy.Simon@usdoj.gov> wrote:

   Adam,

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I understand that there is no requirement to meet and confer before a dispositive motion is filed but, in a FOIA cases,
particularly when a large volume of documents are potentially at issue, it makes sense to confer to know what issues
are in dispute so that the parties can focus the summary judgment briefing accordingly without spending time on
matters not at issue. For instance, are you contesting the search, withholdings other than Exemption 5, etc., and, if
so, are there particular documents in which certain exemptions are being challenged or are you challenging
exemptions across all documents.



Even if you are not willing to confer, the agency still will require until late October to file its MSJ as stated in the
attached draft JSR. I already advised you as to the specific issues with my schedule and also the time it will take ICE
and USCIS to prepare a Vaughn and supporting declarations. If the schedule in the attached JSR is not acceptable
(specifically as to the filing date of Defendant’s MSJ), I suggest we propose separate schedules and let the Court
decide. In that event, I would expect that I would add some language to Defendants’ section of the report to explain
the reasons in support of the schedule Defendants are proposing.



If you have any proposed edits, I would ask that you send them back by tomorrow morning at the latest.



Thanks.



Jeremy




From: Adam Marshall <amarshall@rcfp.org>
Sent: Wednesday, July 20, 2022 11:56 AM
To: Simon, Jeremy (USADC) <JSimon@usa.doj.gov>
Cc: Katie Townsend <ktownsend@rcfp.org>; Charles Tobin <tobinc@ballardspahr.com>
Subject: Re: [EXTERNAL] Upcoming JSR for NPCJI v. DHS, No. 18‐cv‐02932 (DDC)



Hi Jeremy,



There is no requirement that the parties meet and confer regarding dispositive motions. See LCvR 7(m).

With respect to timing, while we understand that Defendants will need time to prepare their summary judgment
motion, the proposed schedule affords Defendants more than a month to do so. To the extent you think modifications
to our proposed briefing schedule are necessary, we'd be happy to consider reasonable alternatives. What schedule
would you propose?


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Thanks,

Adam



Adam A. Marshall // Senior Staff Attorney

Reporters Committee for Freedom of the Press

amarshall@rcfp.org // (202) 795-9308 (w) // @a_marshall_plan

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On Wed, Jul 20, 2022 at 10:30 AM Simon, Jeremy (USADC) <Jeremy.Simon@usdoj.gov> wrote:

 Adam,



 I am still waiting to hear from ICE if any consults remain. In the event processing is done, please note that the
 schedule you propose would not be workable. First, the parties need to confer as to what actually remains at issue
 as to ICE and USCIS so that the summary judgment motion can be tailored to what is actually in dispute. Second,
 once the issues are identified, ICE and USCIS will need time to prepare Vaughn indices and any supporting
 declarations and then I will need time to prepare a MSJ. Finally, I have a trial starting Aug 1, an appellate brief due
 Aug. 30 (the result of a prior extension request), and then numerous existing deadlines already set for the
 September/October time period, so that also will need to be taken into account.



 I will circulate a draft JSR as soon as I am able.



 Thanks.



 Jeremy




 From: Adam Marshall <amarshall@rcfp.org>
 Sent: Tuesday, July 19, 2022 9:03 AM
 To: Simon, Jeremy (USADC) <JSimon@usa.doj.gov>
 Cc: Katie Townsend <ktownsend@rcfp.org>; Charles Tobin <tobinc@ballardspahr.com>
 Subject: [EXTERNAL] Upcoming JSR for NPCJI v. DHS, No. 18‐cv‐02932 (DDC)
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Good morning, Jeremy.



In advance of the parties' JSR due in this matter on Friday, I wanted to check in on the status of Defendants' consults
in this matter to determine whether any are outstanding.



Assuming that Defendants' productions are complete, we'd like to establish a briefing schedule for this matter in the
upcoming JSR. We propose the following for the parties cross‐motions:

            Defendants' motion for summary judgment shall be due on or before August 30, 2022
            Plaintiffs' opposition and cross‐motion shall be due on or before October 7, 2022
            Defendant's reply and opposition shall be due on or before November 4, 2022
            Plaintiffs' reply shall be due on or before November 22, 2022

Please let us know if you have suggested edits to the schedule and I'd be happy to draft a status report for your
review.



Thanks,

Adam




Adam A. Marshall // Senior Staff Attorney

Reporters Committee for Freedom of the Press

amarshall@rcfp.org // (202) 795-9308 (w) // @a_marshall_plan

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